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                          Exhibit 110
Re: New Development on the MI6 Dossier on Trump
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                      CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER
         Subject: Re: New Development on the MI6 Dossier on Trump
         From: "Dolan, Charles" <charles.dolan@kglobal.com>
         Date: 2/4/2017 10:28 AM
         To: "Carlson, Tucker" <Tucker.Carlson@FOXNEWS.COM>

         Tucker:

         Please let me know when you would like to do something with the aƩorney. CNN wants the first “broadcast exclusive “
         and I am waiƟng unƟl I hear back from you before I respond.

         For some reason the AƩorney is a big fan of yours ;‐) and would like to go on with you. He saw your interview with Ben
         Smith and thought it was fabulous. He is based in Boston and could go to your local studio there.

         Below you will find media coverage related to Mr. Gubarev's defamaƟon suits against BuzzFeed News/Ben Smith and
         Christopher Steele. The story was first broken by CNNMoney. I have also included several reprints at the boƩom of the
         clips summary.

         If you want to move forward these arƟcle will be useful for your producers. The NYT and WP are also looking at
         wriƟng stories.

         Best,

         Chuck



         Russian tech exec sues Buzzfeed for publishing unverified Trump dossier
         CNNMoney
         February 3, 2017
         Jose Pagliery

         Russian Tech ExecuƟve Files Lawsuit Against BuzzFeed Over Dossier
         The Wall Street Journal
         February 3, 2017
         Lukas Alpert

         BuzzFeed sued for publishing unredacted Trump dossier, sparking apology
         PoliƟco
         February 3, 2017
         Peter Sterne

         Russian Tech ExecuƟve Files DefamaƟon Lawsuit Against BuzzFeed Over Dossier
         BuzzFeed News
         February 3, 2017
         Steven Perlberg

         BuzzFeed sued over its publicaƟon of uncorroborated Trump dossier
         McClatchy
         February 3, 2017
         Kevin Hall, David Goldstein and Greg Gordon


                                                                                                            P-P000191
1 of 5                                                                                                             11/30/2017 4:59 PM
Re: New Development on the MI6 Dossier on Trump
         Case 0:17-cv-60426-UU Document 212-112 Entered on FLSD Docket 09/21/2018 Page 3 of 6
                     CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER
         BuzzFeed sued over publicaƟon of Trump dossier, report says
         Fox News
         February 4, 2017
         Staﬀ Writer

         BuzzFeed sued over unverified Trump dossier
         The Hill
         February 4, 2017
         Tristan LeJeune

         Report: Buzzfeed sued for story on unverified dossier
         Washington Examiner
         February 4, 2017
         Daniel ChaiƟn

         AŌer being sued, BuzzFeed has apologized to a Russian execuƟve named in the unverified Trump dossier
         recode
         February 3, 2017
         Peter KaŅa

         Russian Tech Exec Sues BuzzFeed
         The Daily Beast
         February 3, 2017
         Staﬀ Writer (Briefly summarized the CNNMoney piece)

         Russian Tech Exec Sues BuzzFeed For Publishing His Name In Trump Dossier
         The Daily Caller
         February 3, 2017
         Chuck Ross

         Buzzfeed sued for publishing unsubstanƟated Trump dossier
         The Blaze
         February 3, 2017
         Carlos Garcia

         Russian Tech Exec Named in Controversial Trump Dossier Sues BuzzFeed
         Newxmax
         February 3, 2017
         Staﬀ Writer

         Russian businessman sued the BuzzFeed due to dirt on Trump
         Lenta (Russia)
         February 4, 2017
         Staﬀ Writer

         BuzzFeed included in the "dossier" on Trump Russian resident filed a lawsuit against the site
         Tvoy Gorod Pskov (Russia)
         February 4, 2017
         Stella Guslyakova

         Russian technical expert Aleksei Gubarev sued BuzzFeed portal for the menƟon of his name in the media to publish
         the report
         NordPortal (Russia)
                                                                                                         P-P000192
2 of 5                                                                                                          11/30/2017 4:59 PM
Re: New Development on the MI6 Dossier on Trump
          Case 0:17-cv-60426-UU Document 212-112 Entered on FLSD Docket 09/21/2018 Page 4 of 6
                      CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER
         February 4, 2017
         Nikita Wisniewski

         Russian IT‐specialist sued the US BuzzFeed resource for dirt on Trump
         Vista News (Russia)
         February 4, 2017
         Staﬀ Writer

         Russia's sued the publicaƟon BuzzFeed because of "compromising" on Trump
         Gazeta (Russia)
         February 4, 2017
         Staﬀ Writer

         Entrepreneur of the Russian FederaƟon sued the BuzzFeed because "dossiers of Trampe"
         Gorlovka (Ukraine)
         February 4, 2017
         Nizamutdinov Semen IgnaƟevich

         Russian businessman sued the Buzzfeed because dossier Trampe
         News for Breakfast (Russia)
         February 4, 2017
         Staﬀ Writer

         Russian businessman sued the BuzzFeed due to dirt on Trump
         Kras News (Russia)
         February 4, 2017
         Staﬀ Writer

         BuzzFeed Sued for Naming Tech CEO in Story About Trump's Alleged Russian Ties
         The Hollywood Reporter
         February 3, 2017
         Ashley Cullins

         BuzzFeed sued over Trump dossier
         iMediaEthics
         February 3, 2017
         Sydney Smith


         Key reprints:

         AŌer being sued, BuzzFeed has apologized to a Russian execuƟve named in the unverified Trump dossier
         CNBC (reprinted recode’s story)
         February 3, 2017
         Peter KaŅa

         BuzzFeed Sued for Naming Tech CEO in Story About Trump's Alleged Russian Ties
         Yahoo! (reprinted The Hollywood Reporter’s story)
         February 3, 2017
         Ashley Cullins

         BuzzFeed sued over its publicaƟon of uncorroborated Trump dossier
         Miami Herald (reprinted McClatchy’s story)
                                                                                                      P-P000193
3 of 5                                                                                                          11/30/2017 4:59 PM
Re: New Development on the MI6 Dossier on Trump
          Case 0:17-cv-60426-UU Document 212-112 Entered on FLSD Docket 09/21/2018 Page 5 of 6
                      CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER
         February 3, 2017
         Kevin Hall, David Goldstein and Greg Gordon


         BuzzFeed sued over its publicaƟon of uncorroborated Trump dossier
         The Kansas City Star (reprinted McClatchy’s story)
         February 3, 2017
         Kevin Hall, David Goldstein and Greg Gordon

         BuzzFeed sued over its publicaƟon of uncorroborated Trump dossier
         Lexington Herald‐Leader (reprinted McClatchy’s story)
         February 3, 2017
         Kevin Hall, David Goldstein and Greg Gordon

         BuzzFeed sued over its publicaƟon of uncorroborated Trump dossier
         The State (reprinted McClatchy’s story)
         February 3, 2017
         Kevin Hall, David Goldstein and Greg Gordon




         From: Charles Dolan <charles.dolan@kglobal.com>
         Date: Saturday, February 4, 2017 at 7:19 AM
         To: "Carlson, Tucker" <Tucker.Carlson@FOXNEWS.COM>
         Subject: Re: New Development on the MI6 Dossier on Trump

         Tucker:

         Let me know when Fox would like to do something and I will organize it with the aƩorney. I’m happy to provide
         background informaƟon on Gubarev and his company to you or a producer so you have adequate background.

         Best,


         Chuck

         From: "Carlson, Tucker" <Tucker.Carlson@FOXNEWS.COM>
         Date: Friday, February 3, 2017 at 10:57 PM
         To: Charles Dolan <charles.dolan@kglobal.com>
         Subject: Re: New Development on the MI6 Dossier on Trump

         Chuck!

         I'm sorry for the late reply to this. Just got off the air. Yes, definitely. This is great. Let me know next steps.
         Thanks a lot.

         Tucker

         On Feb 3, 2017, at 10:39 AM, Dolan, Charles <charles.dolan@kglobal.com> wrote:


                                                                                                            P-P000194
4 of 5                                                                                                              11/30/2017 4:59 PM
Re: New Development on the MI6 Dossier on Trump
         Case 0:17-cv-60426-UU Document 212-112 Entered on FLSD Docket 09/21/2018 Page 6 of 6
                     CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER
               Tucker – there is going to be a new development on the Dossier produced by former MI6 agent
               Christopher Steele which contained the salacious details about President Trump.

               Please keep this embargoed unƟl we speak and potenƟally arrange a Ɵme but would you or somebody
               else at Fox like to have the first interview with the AƩorney fil ing a liable suit on behalf of the individual
               named in the suit as being responsible for hacking into the DNC and Hillary’s campaign? I am working
               with this individual on liƟgaƟon support and they will be filingin both the U.K. and the U.S.

               I thought Fox might be interested in geƫng the first interview.

               Let me know,

               Best,


               Chuck
               202‐445‐0422


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